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Case 3:06-cV-01009-AHN Document 1-2 Filed 06/30/06 Page 1 of 8

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Fed¢:ral Bureau of Prisons

  

. ` Nor¢heast Regc'onal O_)_‘j‘ice
MMLM“m-Rereipt Mail

 

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December 30, 2005

Bobbi L. Bolton, Reg. No. 07304-031
P.O. Box 69126
St. Louis, MO 63169

RE: Administrative Tort Claim No. TRT¢NER~2005-01498
Dear Ms. Bolton:

Your request for reconsideration for Hdministrative Tort Claim
No. TRT-NER-2005-01498, properly received by this agency on
December 13, 2005, has been consideredlfor settlement as provided
by the Federal Tort Claims Act (FTCA), 28 U.S.C. § 2672, under
authority delegated to me by 28 C.F.R. § 543.30. You seek
compensatory damages in the amount of $2,000,000.00 for an
alleged personal injury. Specifically¢ you assert staff at the
Federal Correctional Institution (FCI), Danbury, Connecticut,
retaliated against you because you filed grievances. You further
claim you had to be placed on suicide watch, were on the verge of
a nervous breakdown and excessive force was used to place you in
restraints.

After careful reconsideration, I have decided not to offer a
settlement. You provide no new information which would warrant
further settlement consideration. Thereforep your request for
reconsideration is being denied.

Accordingly, your claim is denied. If you are dissatisfied with
this decision, you may bring an action against the United States

in an appropriate United States District Court within six (6)
months of the date of this letter.

'= 'v "_ Ss¢¢wS l
<:::§egional Counsel

cc: W. S. Willingham, Warden, FCI Danbury

Sincerely,

       

 

 

Case 3:06-cV-01009-AHN Document 1-2 Filed 06/30/06 Page 2 of 8

February 20, 2005

Bobbi L. Bolton
07304-031
FMC-Carswell

P.O. Box 27137

Ft. Worth, TX 76127

Alberto Gonzalez, Attorney General

Main Justice Building

Tenth Street & Constitution Avenue, N.W.
Washington, D.C. 20530

Dear Mr. Gonzalez:

l am presently an inmate in the Federal Bureau of Prisons and I'm writing
due to being very harshly punished for no reason whatsoever in FCl-Danbury. I
believe it was retaliation due to another civil suit that l had pending prior
to being housed in Danbury. The court date was fast approaching for the
hearing and F.B.O.P. Attorney Jenifer Grundy and Northern District of Florida
Assistant U.S. Attorney Robert Stinson along with my attorney were coming to
visit and calling very regularly. Therefore, staff was well aware of the
upcoming hearing and the reason(s) for them.

Upon entering the prison there I had told the counselor my situation
because the initial paperwork asked certain questions and he asked me cer-
tain questions as well about being raped and was it a staff member, etc.

I was honest even though I didn't feel comfortable telling this information.

Not only did l inform them of the rape but also of an enemy that was
housed at FCl-Danbury, Michelle Ortiz. l told them at the initial screen-
ing and I also wrote a cop out to my Unit Manager at the time, Mr. Nichols.
Nothing was done and after being in Special Hou$ing for a week a bed be»
came available and l was placed in general population without any sort of
investigation.

I went on the compound on April lhth, 2004, and within two to three weeks
Michelle Ortiz had approached me on three separate occasions cursing me and
threatening me. I spoke to my Case Manager, Mrs. MacArthur, Lt. Ramadan, and
my Counselor, Mr. Mietelski. They all basically told me there was nothing
they could do unless there was a fight and then l would lose 27 good days
(at least). l tried to deal with it but my nerves were so bad I couldn't.

During the three week period that l remained on the compound l was placed
in a ten man bus stop. The inmate (Iammi Peasldy) that slept over me was
absolutely filthy (blood on towels hanging on the end of the bed, picking her
feet and throwing "whatever" on the floor, hanging wet and stinky clothing
from work over the edge of the bed, etc.). Aftdr attempting to speak with
her politely and respectfully she cursed me out. When the behavior didn't

 

 

Case 3:06-cV-01009-AHN Document 1-2 Filed 06/30/06 Page 3 of 8
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stop l went to Counselor McMahon and explained to him what was going on in the
room. l even went on to tell him that l was suffering from PTSD and depression
and that I had tried to speak with her; However, to no avail. l even told
him she was not supposed to be over me, Juanita Torres was in fact the inmate
who was supposed to be in that specific bed. He (McMahon) assured me he would
take care of it that very day, right away. He did nothing!

Several days passed and l was literally a basket case. l couldn't sleep
due to the filth and stink all around the bed a%g several nights at midnight
count l would be up because l couldn't sleep. _ e night of April 13th, l begged
staff to put me in the SHU, l felt that I was on the verge of a nervous break~
down. The next day l was literally shaking and couldn't stop. l was placed in
segregation for P.C.

Between Michelle Ortiz, Tammi Peasley, the fighting, constant arguing,
screaming, cursing, open homosexuality...l couldn't take anymore!

l went into segregation on May 5th, 200&. iNo one came to talk to me or
investigate anything until the week of July 24th. l didn't see anyone until
my mother contacted Congressman Clay and he sent an inquiry. Ihey came and
asked me "what's her name?" l explained to them the way she would curse and
threaten me and they didn't care.

Approximately a month later they,Unit Team, told me if l didn't go back
on the compound l would he written a shot for "nefusing a progr ". I was in
fear and did not feel that l could handle it. That compound horrified me
because there were not enough staff members and hoc many crazy, wild people.
There were fights every, single day and no staff to control the behavior!

On August 20th, l returned to the compound because they said the inves-
tigation was unfounded. l asked for this report:in writing but was denied.
In the policy statement it states that an inmate;can go into P.C. at anytime
however this was refused to me. lt appeared to me that they wanted me to get
in trouble and lose good time.

l was even written up for a 305, contrabandt for having ear plugs!!!
The place was always so loud, full of cursing, and arguing, and fighting...
that's why l had ear plugs. I've seen other people written up for razors,
fighting, cursing others, etc. and nothing was dpne!!! But my commissary was
suspended for thirty days. Sir, l take correspondence courses and that was
why l needed a little quiet time.

On two occasions l was cursed and threatened by Michelle Ortiz in the
presence of staff. The first time was in the presence of C.O. Restreppo and
the second time in the presence of C.O. Meliti. ?Neither incident was
written up against this inmate. After the first occasion (Restreppo) l
spoke with Lt. Hernandez and she said it was documented in the log book!
After the second occasion I wrote the officer up§(BP“Q)~ I don't curse and
l refuse to subject myself to this kind of behavior repeatedly and the
officers refuse to do their job! But l got wrote up for ear plugs ( I just
want you to keep that in mind!) How would you feel?!

During the time at Danbury I had to be placed on anti-depressants for
depression and to get some sleep. Since arriving at Carswell l haven't had
the need for any of the medication l was on there except for the twnor
_medication l take for my hormonal levels.

 

 

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Case 3:06-cV-01009-AHN Document 1-2 Filed 06/30/06 Page 4 of 8

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In 0ctober l was accosted by another inmate, A. Montague, in our room.
There was no officer in the unit (as usual) and she continued to rent and
rave and l didn't say anything other than "Please don't speak to me". This t
only made her more angry. She called me, "bit hes, Bible~thumper bitches, etci)
I left the room and went into the hallway to speak with a friend. The
officer (Hewitt) happened to come into the unit and want into the room Only
to find her. He took her to the Lt.'s office.' About 20 or 30 minutes later
they came and took me over to the Lt.'s officem also. l explained to the Lt.
(Ueberoth) that l had not done anything to heriand that l had asked her to
please refrain from speaking to me because she;cursed too much and l didn't
speak that language. He told me that if we had another arguement that we
would both be placed in the SHU and he would make sure we were housed
together! l tried to understand but l couldn'd! 1 did nothing and l re-
fused to be threatened and harassed for anothen's behavior. Many women
there are crazy and staff knows it. l cannot he responsible for what she

might do!!! I wrote the incident up on Novembdr 18th and was placed in the
SHU on November 19th due to writing an incidenn report!!!

l had requested on numerous occasions to be transferred to Mitchell-
ville, lowa,or Topeka, Kansas to a state facility which houses federal
inmates. On October 4, 2004, I was told l was simply waiting on a bed in
either facility. As of January 19 2005, l hadn't heard anything on the
§ransfer to either facility--I don t believe they ever intended to trans-

er me.

After being forced out of P.C. in August GZOO&), l contacted my
Congressman (Clay) again. Upon William Clay r ceiving my correspondence
he wrote to William Willingham, the Warden at =CI-Danbury. Mr. Willingham
wrote to Congressman Clay and told him that l dame out of the SHU
voluntarily which was an outright fabrication!¥! Congressman Clay
sent me a copy of the correspondence from Warden Willingham and l approached
Willingham on mainline about it. He said, "yo did come out voluntarily,
you could have stayed in the SHU you just would have received a shot!" That's
not voluntarily! He went on to say? 'if you want to go back in right now
you can but you will-receive a shot' and smiled.

In August, upon being forced from the SHU, l was placed in Unit 11F.
l was put in a 20 man room which was approximately 15 ft. by 35 ft. No win-
dows opened in the room, there was one fan that sat at the end of my bed
that covered the entire room, there was constant arguing because of the
circumstances, constant homosexual acts taking place, etc. After being in
this situation, l got very depressed. To add no this my Unit Manager, R.
Shamro, refused me a locker for several weeks. l went without a locker
the entire time l was in this room which was approximately three weeks.
He kept telling me to use a green duffel bag!!!

Finally, l went to Counselor Staiger and requested a BP-9 because
l had went to the law library and found out I had the right to have a
locker. Between him and Mr. McMahon (counselon)_l went to suicide watch.
They were very rude and refused to take the 8 I/Z's.and give me BP-Q's so
that I could move forward. l began to cry uncdntrollably and telephoned
my attorney, he (John Green) at that time wrote Region (Northeasty Phil-
adelphia, PA). l have copies of correspondence for your review it so
requested.

After this incident l was placed in a twolman cubicle which was really
nice. My room mate was a nice lady and we got along nicely, she too was
a Christian. Approximately a week later a‘note was on my bed upon return~
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Case 3:06-cV-01009-AHN Document 1-2 Filed 06/30/06 Page 5 of 8
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ing from work one day. l reported it to the pfficer on duty. The Lt. (Her- ‘*”
nandez) placed me and Ortiz in the SHU for inyestigation. No investigation
ensued. We were placed in the SHU from Thursday evening until Monday morn~

ing and placed back on the compound. During these three days Ortiz cursed

me repeatedly in front of staff and nothing was done" Ihis was when she

cursed me and threatened me in front of C.O. Restreppo and C.O. Ray. Lt.
Hernandez told me that she had been made aware of it and it was documented

in the log book; However, no shot was writteh.

On November 19, 2004, I had a hearing by!phone for my civil suit against v’
F.B.O.P. Upon ending the conversation l was immediately placed in the SHU.
l remained in the SHU until l departed FCl-Danbury for medical reasons on
January 19, 2005. l was told that l was placing myself in protective cus-
today and refused to sign the paperwork because l did not ask to be placed
in P.C. l was forced into segregation and new paperwork was drawn up and
brought to me later that evening. lhey placed me in P.C. `

 

After being placed in the SHU for approx mately a week l began to ask *"
questions. I'd try to speak to everyone and nyone l could; However, no
one had any answers. After several weeks l began to get depressed and even
suicidal. On December 12, 2004, l wrote C.O.§Moorman a cop out expressing
my feelings and the fact that l had attempted§suicide before, to please help
me. l even had him to take all of my property out of my cell and place it
in my property in the property room. No one to 'even speak to me!!!
They didn t want to be bothered and especiall with me!!! lhe next day l
spoke with another officer and she called a ifferent Lt. (Holmes), he came
over immediately and telephoned the psycholog st that was on call (Parrl.
Dr. Parr had me placed in suicide watch for observation. The next day
Psychologist Rentler came to see me at approximately 12:30p.m. and he asked
me one question: (1) How are you Ms. Bolton?§and then he stated that he
was placing me back in the SHU. l did tell him that if l had to go back to
the SHU that l didn't know what l would do to|myself because l was ex-
tremely depressed. §

Approximately 30 minutes later Rentler cjme to the door and handed
me the clothing for the SHU and l put it on. _He then asked me to give
him the sheets off of the bed and l handed it!to him. Then, Lt. Gussack
told me to put my hands through the hole in tde door so he could restrain
me and I did that. At that time they opened the door and l saw about 20
people in black attire with hoods in the hallway and one lady with a video
camera pointed toward me, filming my actions._

l was totally surrounded and escorted out of the suicide watch room into
the hallway. At that time Mr. Wardenberger (Medical Records) was holding
a blanket up over the glass door to stop anyone from seeing what was going
on. This really frightened me because l sincerely thought they were get-
ting ready to beat me up with sticks and fists. However, they didn't. They
placed a metal, bally-type chain around me really tigat with a black box,
and shackles on my ankle area. f

At that time l was taken back to the SHU!and placed in a dry cell.
l was housed in this dry cell from Monday (12%13-04) through Friday (12-17-04).
The captain refused to loosed the restraints ih which l asked him to do
upon being placed in this cell. l was kept this way for four days. l was
refused bathroom privileges, I was refused legal calls, legal mail, etc.

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Case 3:06-cV-01009-AHN Document 1-2 Filed 06/30/06 Page 6 of 8

 

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I, also, at this time asked the captain why l was being placed in this part~
icular cell? And his response was that it was to keep me from banning myself
or others. l had no idea l would be kept thil way for days. l also couldn't
understand why I was being denied suicide watc_ when nw records clearly
indicate a need. lt is in my file that l suff r from severe depression,

PTSD, and have attempted suicide while in the alfway house in 2000. l

had also been informed that l could possibly have cancer in my nasal/

throat area. Rentler, Shamro, Willingham and medical staff were all aware

of all of these facts!!! .

While being in this dry cell, l was denied the use of the restroom, “/q_ 1
I was denied a shower for six days, many rights were violated,,due process
violations, racism, excessive force, battery, assault and many other human '
rights violations which resulted in deprivation. l was the victim of !
cruel and unusual punishment on the behalf of many staff members in the l
ECI~Danbury facility and I will prove such in ¢ourt!!! This will not go
unpunished!!!

While in the dry cell l was denied paper,ipencil and stamps to corres- “";
pond with my attorney's. l was denied legal c lls. In order to write my
attorney another inmate had to put her name an number on my mail to get
it out of the facility. Another inmate teleph ned my attorney because
of the way l was tied up and being mistreated d my phone priviledges were
taken until July &, 2005. DHO refused to even call any witnessesl!!

And in the DHO report Mr. Ryan states that he eceived a memo from R. Shamro
and this assisted in his finding of guilty!!!§(On November 23, 2004 l was
written up by Mr. Shamro for saying, Jesus is my Avenger!" and it was
dismissed by DHO. This time he was going to he sure it stuck, l assume).

a 297. Another inmate (Gigianna Jones) told m that she didn't feel it was
fair because she had received three of the sam violations before our unit
team referred her to DHD. Twice they gave her§30 day phone restriction and
dropped it to a 300 series disciplinary report§on both occasions. lt wasn't
until the third incident that they referred her to DHO!!! We both had the
exact same unit team (West Team). ;

i
The disciplinary report l received for th§ misuse of the telephone was

For several days during December 13th th ` 17th I repeatedly used the
bathroom on myself. The Captain had told therEOFs that they had to call
the Lt.'s office and have a female officer come and take me to a bathroom.
Sometimes this would take 15 minutes and if they were busy it would take an
hour! My bladder is not on a time schedule!!!i Two or three times l had
a styrophone cup to go in; However, if there was no cup l had to go where
l had to go. ` '

Prior to coming in from suicide watch several other inmates heard A.W.
Clay tell Captain Pummel to keep me in there until the end of the week!!!

l have 20 - 30 witnesses willing and ready to dome to the witness stand'
due to the abuse that they witnessed!!!

On January 18, 2005, A.W. Clay hit a toilet paper roll that was in the ”//
railing on the cell bars over the bed in whichLl was laying. Her comment ‘
was, "if l was trying to hit you l would have!” Rather she was trying to hit
me or not she never should have done it!!! Th¢t institution is frightening

 

 

Case 3:06-cV-01009-AHN Document 1-2 Fi_|ed 06/30/06 Page 7 of 8

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and staff does nothing, absolutely nothing, to §ensure an orderly running of
the facility!!! There are fights daily, people cursing one another out
constantly,.. l've witnessed officers get spitl on and injured and nothing
was done! l thought l had died and gone to hell!!! When l finally did speak
with Warden Willingham_his response was, "pris n is depressing" and walked
away!!! He actually told me that he condoned at the captain did to me!!!

He (Willingham) told me that I was uncooperative! l was never uncooper-
tive!!! That‘s a lie because they know l'm nolt going to drop this matter.
If l was so meooperative why wasn't l issued a‘ disciplinary report?! 1 was
written on for having ear plugs and for saying 5"Jesus is my Avenger".

Another issue l want to raise is the fact ;the my education was suspended
due to their nonsense! l currently take classes toward my degree in 'Iheology
and I'm enrolled in a program to receive my ministry licensing. Eiy my being
in the SHU l lost time in school and this was ia deprivation of my rights
as well. Upon writing this up l was told by Co}unselor Staiger that education
was a priviledge and not a right. However, aft!er searching policity state-
ments I found out that education is a right!!! g And as you can see many of
mine were violated! !! B.O.P. policy statemt states! that irmates have a right to ed~
cation for the bettenne::t of self. -

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Case 3:06-cV-01009-AHN Document 1-2 Filed 06/30/06 Page 8 of 8

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Sincerely and Respecl'f\.l]_ly,

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sotbi L. soltm (07304-031)

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